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               (Rev. 12103)Judgment in a Criminal Case for Revocations
                                                                       #236
% A 0 245D
               Sheet I


                                       UNITED
                                            STATES      COURT
                                                 DISTRICT
                         SOUTHERN                              District of
         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                               v.                                       (For Revocation of Probation or Supervised Release)

                    SHONAGARNER
                                                                        Case Number: 4:98CR40124-005-JPG
                                                                        USM Number: 04609-025
                                                                         Terry Green
                                                                        Defendant's Attorney
THE DEFENDANT:
     admitted guilt to violation of condition(s) as alleged in Petition                   of the term of supervision.

    was found in violation of condition(s)                                            after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                        Violation Ended
 Statutory                           The defendant tested positive for mauijuana                                4/6/2006

 Special                             De@ndantfaW tb report k , ~. ! , ~ l y s itesting
                                                                                 s                              3/29/2006
 Special                             Defendant failed to participate in a program of mental health              8/21/2006



       The defendant is sentenced as provided in pages 2 through               4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                   and is discharged as to such violation(s) condition.


                                                          'r
          It is ordered that the defendant must noti the United States attorney for this d,istrict within 30,days of any , ,
change of name, restdence, or maillng address untl all fines, restltutlon, costs, and speclal assessments imposed by t h ~judgment
                                                                                                                           s
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
                                                                                                                                   are
economic circumstances.

Defendant's Soc. Sec. No.:     999-99-1 507                             511612007
                                                                        Date of Imposition of Judgment
Defendant's Date of Birth:



Defendant's Residence Address:

 Marion, IL
                                                                         J . Phil Gilbert                               District Judge
                                                                        Name of Judge                                   Title ofjudge



                                                                        Date
                                                                                                    f -7
Defendant's Mailing Address:

 S a m e as above
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             Sheet 2- Imprisonment

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  DEFENDANT: SHONA GARNER
  CASE NUMBER: 4:98CR40124-005-JPG


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
Time Sewed (2 months and 5 days)




         The court makes the following recommendations to the Bureau o f Prisons:




      17 The defendant is remanded to the custody of the United States Marshal.
         The defendant shall surrender to the United States Marshal for this district:
              at                                        a.m.           p.m.    on
         17 as notified by the United States Marshal.
         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                         to

 at                                                   with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                              BY
                                                                                                DEPUTY UNITED STATES MARSHAL
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             Sheet 3 -Supervised   Release


DEFENDANT: SHONA GARNER
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                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
7 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
suhstance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future suhstance abuse. (Check, if applicable.)
@ The defendant shall not possess a f ~ e a r mammunition,
                                               ,           destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule ofpayments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphemaha related to any controlled substances, except as prescribed by a physic~an;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
     a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall pewit aprobation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
        contraband observed in plain vlew of the probation officee
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the robation officer, the defendant shall notifythird parties of risks that may he occasionej by the defendant's criminal
        record or           history,or characteristic> and shall permit the prohat~onofficer to make such not~ficationsand to c o n f m the
        defendant s compliance with such not~ficat~on   requirement.
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           Sheet 3C - Supervised Release


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                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall spend the first 6 months in a half-way house as directed by probation. The defendant is to report to
the half-way house or probation on 6/1/2007 (as directed by probation).

The defendant shall spend week-ends in jail the last month of supervised release . The defendant shall report at 6:00 p.m
on Friday to 6:00 p.m. on Sunday.

  The defendant shall participate in a program of mental health treatment as directed by the probation officer until such
time as the defendant is released from the program by the probation officer.

  The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detectin measures and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.
